       Case 3:23-cv-01767-AN            Document 12       Filed 02/02/24       Page 1 of 7



Carey Caldwell, OSB #093032
Deputy City Attorney
carey.caldwell@portlandoregon.gov
Portland City Attorney’s Office
1221 SW 4th Ave., Rm. 430
Portland, OR 97204
Telephone: (503) 823-4047
Facsimile: (503) 823-3089
Of Attorneys for Joshua Dyk and City of Portland


                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                     PORTLAND DIVISION

ESTATE OF AARON D. STANTON,                        3:23-cv-01767-AN
BY DOUGLAS STANTON, PERSONAL
REPRESENTATIVE, AND A. S., A
MINOR, BY AND THROUGH HER                          DEFENDANTS’ MOTION TO STRIKE
GUARDIAN AD LITEM, DOUGLAS
STANTON,

               PLAINTIFFS,

       v.

JOSHUA DYK and CITY OF PORTLAND,

               DEFENDANTS.


                                    LR 7-1 CERTIFICATION
       The undersigned certifies that counsel for Defendants Joshua Dyk (“Dyk”) and City of

Portland (“City”) (collectively “Defendants”) conferred with Plaintiffs’ counsel in a good faith

effort to resolve the subject matter of this Motion but was unable to do so. The Court’s ruling is

therefore necessary on these matters.

                                            MOTION

       1. Pursuant to Fed. R. Civ. P. 12(f), Defendants move to strike paragraphs 37(a) through

            (n) of Plaintiffs’ Complaint.

///

Page 1 – DEFENDANTS’ MOTION TO STRIKE
          Case 3:23-cv-01767-AN          Document 12         Filed 02/02/24      Page 2 of 7




          This Motion is supported by the legal memorandum set forth below and the pleadings on

file herein.

                                          INTRODUCTION

          The Complaint contains numerous paragraphs with allegations that have no relevance to the

claims brought. Further, the breadth of those allegations create an unreasonable discovery burden

and thereby significant prejudice against Defendants. The Court should grant Defendants’ Motion

and strike the paragraphs in question.

                                   POINTS AND AUTHORITIES



A.        Background

          Plaintiff brings multiple claims based on a July 22, 2022, officer involved shooting.

Plaintiff alleges that on that day, Aaron Stanton discharged “a semi-automatic pistol.” (ECF 1,

¶1). Defendant Dyk then shot Mr. Stanton. (Id.)

          In apparent support of an excessive force Monell claim, paragraph 37 of Plaintiffs’

Complaint makes numerous allegations about distinguishable uses of force against other people

going back more than 20 years. The allegations contained in that paragraph, and its subparagraphs,

are immaterial and irrelevant as they have no bearing on the issues involved in Plaintiffs’ action as

set forth in Plaintiffs’ Complaint. As such, Defendants are unduly prejudiced by having to waste
time and resources to answer and litigate the allegations. Therefore, the Court should strike those

paragraphs. Fantasy, Inc. V. Fogerty, 984 F.2d 1524, 1527 (9th Cir. 1993) rev’d on other grounds,

Fogerty v. Fantasy, Inc., 510 U.S. 517, 534-35 (1994).

B.        Legal Argument

     1.        Fed. R. Civ. P. 12(f) Motion to Strike.

          F.R.C.P. 8(d)(1) requires a complaint contain “simple, concise, and direct allegations” in

support a claim. F.R.C.P. 12(f) authorizes the court on its own initiative, or pursuant to a motion

from either party, strike from a pleading “any redundant, immaterial, impertinent, or scandalous

Page 2 – DEFENDANTS’ MOTION TO STRIKE
       Case 3:23-cv-01767-AN            Document 12          Filed 02/02/24       Page 3 of 7




matter.” The purpose of the rule is “to avoid the expenditure of time and money that must arise

from litigating spurious issues by dispensing with those issues prior to trial . . . .” Whittlestone,

Inc. v. Handi-Craft Co., 618 F.3d 970, 973 (9th Cir. 2010). Rule 12(f) is also designed to

“reinforce the requirement in Rule 8(d) that pleadings be simple, concise, and direct.” 5C

Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure § 1380 (3d. Ed.).

       “A matter is redundant if it is superfluous and can be omitted without a loss of meaning.”

Estate of Osborn-Vincent v. Ameriprise Fin., Inc., 3:16-CV-02305-YY, 2019 WL 764029, at *2

(D. Or. Jan. 3, 2019) (citing Wilkerson v. Butler, 229 F.R.D. 166, 170 (E.D. Cal. 2005)).

       An allegation is “immaterial” if it does not relate to the plaintiff’s underlying claim for

relief. Fantasy, Inc. v. Fogerty, 984 F.2d 1524, 1527 (9th Cir. 1993) (rev’d on other grounds,

510 U.S. 517 (1994)) (“Immaterial matter is that which has no essential or important relationship

to the claim for relief or the defenses being plead.”).

       An allegation is “impertinent” if it does not pertain to any harm alleged. Fogerty, 984

F.2d at 1527 (“Impertinent matter consists of statements that do not pertain, and are not

necessary, to the issues in question.”). Such allegations are also impertinent if they consist of

statements that do not pertain, and are not necessary, to the issues in question. Id. Impertinent

(or immaterial) pleadings “are legally insufficient because they clearly lack merit ‘under any

set of facts [a party] might allege.’” Unigestion Holding, S.A. v. UPM Tech., Inc., 305 F. Supp.
3d 1134, 1140 (D. Or. 2018) (quoting Polk v. Legal Recovery Law Offices, 291 F.R.D. 485,

489 (S.D. Cal. 2013)).

       Redundant, immaterial, and impertinent allegations are properly struck because they

“have no possible relation or logical connection to the subject matter of the controversy” and

may cause prejudice to one or more parties. Federal Practice and Procedure § 1380; City of

Portland v. Iheanacho, No. 3:17-CV-0401-AC, 2018 WL 1426564, at *3 (D. Or. Mar. 22,

2018). Offers of evidence in a complaint should also be stricken as they are improper and

inconsistent with Rule 8’s requirement of “a short and simple statement of plaintiff’s claim.”

Page 3 – DEFENDANTS’ MOTION TO STRIKE
       Case 3:23-cv-01767-AN             Document 12         Filed 02/02/24        Page 4 of 7




Nat'l Sav. & Loan Ass'n v. St. Paul Fire & Marine Ins. Co., 84 F.R.D. 425, 428 (E.D. Wis.

1979); Cool v. Int'l Shoe Co., 142 F.2d 318, 320 (8th Cir. 1944); United States v. Del Llano,

354 F.2d 844, 847 (2d Cir. 1965) (trial court may sua sponte exclude evidence).

        a. Monell Allegations.

        “To establish Monell liability, a plaintiff must allege that: (1) they were deprived of a

constitutional right; (2) the municipality had a policy, custom, or practice; (3) the policy, custom, or

practice amounted to deliberate indifference of the plaintiff’s constitutional rights; and (4) the

policy, custom, or practice was the ‘moving force’ behind the constitutional violation.” Cantu v.

City of Portland, No. 3:19-cv-01606-SB, 2020 WL 2952972, at *3 (D. Or. June 3, 2020) (citing

Dougherty v. City of Covina, 654 F.3d 892, 900 (9th Cir. 2011)); see also Gravelet-Blondin v.

Sheldon, 728 F.3d 1086, 1096 (9th Cir. 2013) (a plaintiff seeking to establish municipal liability

must demonstrate that the government “had a deliberate policy, custom, or practice that was the

‘moving force’ behind the constitutional violation [the plaintiff] suffered.”).

        A custom or practice supporting municipal liability must be so widespread that it

constitutes a “permanent and well settled city policy” and “the standard operating procedure.”

Trevino v. Gates, 99 F.3d 911, 920 (9th Cir. 1996). Similarly, a plaintiff must show a city’s police

bureau acted with “deliberate indifference” to the substantial risk that its policies were

insufficient to prevent violations of constitutional rights. City of Canton v. Harris, 489 U.S. 378,
388 (1989); Flores v. County of Los Angeles, 758 F.3d 1154, 1158 (9th Cir. 2014). That is, a

plaintiff must show that a city acted “through its deliberate conduct.” Board of County Com’rs of

Bryan County, Okl. v. Brown, 520 U.S. 397, 4040 (1997) (Emphasis original). Only such

deliberate, purposeful, or conscious choices or conduct by a municipality satisfies the culpability

standard under Section 1983. City of Canton, supra, 489 at 389. In keeping, a plaintiff must

show that a city’s deliberate indifference was the “moving force” behind any injury alleged. That

is, a plaintiff “must demonstrate a direct causal link between the municipal action and the

deprivation of federal rights.” Id. To establish such a link, a plaintiff must show “both causation-

Page 4 – DEFENDANTS’ MOTION TO STRIKE
        Case 3:23-cv-01767-AN                Document 12            Filed 02/02/24          Page 5 of 7




in-fact and proximate causation.” Gravelet-Blondin v. Shelton, 728 F.3d 1086, 1096 (9th Cir.

2013); Trevino v. Gates, supra 99 F.3d at 918.

        In short, Plaintiffs’ allegations of municipal liability must depend on factually similar

incidents involving, or at least implicating, the challenged custom. On the other hand, factually

dissimilar or generalized incidents involving the Portland Police Bureau have no bearing on

Plaintiffs’ Monell allegations, regardless of their controversy.

        b. Strike Paragraph 37(a)-(n).

        The 14 subparagraphs of paragraph 37 of Plaintiffs’ Complaint describe a multitude of

factually distinct police interactions that Plaintiffs attempt to paint as representative of some “policy,

custom or practice of deliberate indifference to Portland police officers’ violations of the Fourth

Amendment by use of excessive deadly force.” They do not.

        Moreover, many of allegations describe acts of people or entities other than Defendants

here. Further, many allegations present conclusory statements that are factually inaccurate. In

addition, many of the allegations allege failures that have no bearing on Plaintiffs’ claims. As a

result, none of the allegations can represent the moving force or cause in fact of the shooting at issue

here. For these reasons alone, these allegations are “immaterial” and “impertinent,” and the Court

should strike them from the Complaint. Fed. R. Civ. P. 12(f); Fantasy, Inc. v. Fogerty, 984 F.2d

1524, 1527 (9th Cir. 1993), rev'd on other grounds, 510 U.S. 517 (1994).
        For example, the very first allegation in Plaintiffs’ list of dissimilar incidents, ¶37(a),

describes an officer involved shooting where a federal jury found no excessive force on the part of

the shooting officer.1 In keeping with Plaintiffs’ omission of that fact – a jury finding of no

excessive force – Plaintiffs fail to assert any allegation that shows findings of excessive force by any

tribunal. Instead, in many of the allegations at issue, Plaintiffs reference the PPA (Portland Police

Association) and arbitrations where the City was forced to act, despite any previous review,

oversight, or disciplinary decisions. See, e.g., ¶¶37(d), (e), and (f). Plaintiffs’ descriptions in those

1
  This Court may take judicial notice of pleadings and orders in its own jurisdiction pursuant to FRE 201(b); Dauven
v. U.S. Bancorp, 390 F. Supp. 3d 1262, 1269 (D. Or. 2019).
Page 5 – DEFENDANTS’ MOTION TO STRIKE
       Case 3:23-cv-01767-AN            Document 12          Filed 02/02/24       Page 6 of 7




allegations show the PPA as adversarial to the City, again leading to the reversal of City disciplinary

and oversight decisions. That is consistent with the fact that the PPA is not the City’s agent but the

City’s adversary in those disputes. The City does not control PPA’s advocacy positions.

Moreover, the City was required to follow the factual findings and legal rulings resulting from

those arbitrated employment disputes. See Portland Police Association v. City of Portland, 275

Or. App. 700, 708 (2015). The PPA’s advocacy positions–historical or otherwise–have no

bearing on any potential liability, and in fact controverts Plaintiffs’ ultimate position as to the

City’s responsibility for acts it was forced to take through that advocacy.

        Further, here, Plaintiffs allege Mr. Stanton was armed with a semi-automatic pistol and

discharged the gun prior to Officer Dyk shooting him. (ECF 1, ¶1). That is factually

distinguishable from every example provided in paragraph 37, wherein Plaintiffs appear to

emphasize the unarmed nature of most of the people. See ¶¶37(a), (b), (e), (j), (k) (although

Mr. Hayes had a fake weapon). By way of additional example of the immateriality of the

paragraphs in question, like reference to the PPA, there are other people and entities mentioned

that have no bearing to this suit. See ¶¶37(b) (acts of City of Beaverton); 37(d) (officer elected

Sherriff of Wheeler County).

        Moreover, similar to Plaintiffs’ PPA allegations that contradict his claims the City acted

as claimed, Plaintiffs’ citation to a DOJ lawsuit undermines his allegation of some ongoing
policy or ratification. (¶¶35, 36). Not only do Plaintiffs allege that PPB altered policy and

procedure, but Plaintiffs also note that in 2023, there was a finding of substantial compliance

with the officer accountability under the agreement. (Id.).

        Ultimately, Plaintiffs’ pleadings will inform the scope of evidence at issue in the suit. As it

stands, the paragraphs moved against in Plaintiffs’ Complaint will require litigating each of those

allegations to disprove Plaintiffs’ conclusory characterizations. That implicates unduly burdensome

disclosures specifically, and prejudice in general as to the scope of effort Defendants would be

forced to engage in in responding to allegations that have no bearing on the issues in the current

Page 6 – DEFENDANTS’ MOTION TO STRIKE
       Case 3:23-cv-01767-AN            Document 12        Filed 02/02/24       Page 7 of 7




suit. The allegations are simply unrelated to a Plaintiffs’ claims, are “unworthy of any

consideration, and [] their presence will be prejudicial” to the City. City of Portland v.

Iheanacho, No. 3:17-CV-0401-AC, 2018 WL 1426564, at *3 (D. Or. March 22, 2018).

                                          CONCLUSION

       Based on the foregoing, Defendants respectfully requests the Court strike paragraphs

37(a) through (n) of Plaintiffs’ Complaint.

       DATED: February 2, 2024.



                                                  Respectfully submitted,



                                                  /s/ Carey Caldwell
                                                  Carey Caldwell, OSB #093032
                                                  Deputy City Attorney
                                                  carey.caldwell@portlandoregon.gov
                                                  Of Attorneys for Joshua Dyk and City of
                                                  Portland




Page 7 – DEFENDANTS’ MOTION TO STRIKE
